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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

BRUCE LEE PARKER,
                          Plaintiff,   Case No. 21-10467
                                       Honorable Shalina D. Kumar
v.                                     Magistrate Judge Anthony P. Patti

REGINA JENKINS-GRANT, et
al.,
                Defendants.


 ORDER ADOPTING REPORT AND RECOMMENDATION (ECF NO. 33)
 AND DENYING AS MOOT PLAINTIFF’S MOTION FOR PRELIMINARY
                 INJUNCTION (ECF NO. 23)



     Plaintiff, a pro se prisoner, brought this action against six individuals

working at the Macomb Correctional Facility (MRF) where he was

incarcerated prior to being transferred to Oaks Correctional Facility (ECF)

and ultimately the Earnest C. Brooks Correctional Facility (LRF).

     On March 22, 2022, the assigned magistrate judge issued a Report

and Recommendation (R&R) (ECF No. 33) on Plaintiff’s Emergency Motion

for Preliminary Injunction (ECF No. 23). The R&R recommends that the

Court deny the motion as moot because plaintiff is no longer housed at



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MRF and thus the MRF-related injunctive relief is no longer applicable.

ECF No. 33. Neither party has filed an objection to the R&R.

     The Court has reviewed the record and the R&R is hereby

ADOPTED and entered as the findings and conclusions of the Court.

     Accordingly,

     IT IS ORDERED that Plaintiff’s Emergency Motion for Preliminary

Injunction (ECF No. 23) is DENIED AS MOOT.


                                        /s Shalina D. Kumar
                                        SHALINA D. KUMAR
Dated: May 27, 2022                     United States District Judge




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